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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO.

 MARITZA Y. ARCHER,

        Plaintiff,

 v.

 DYNAMIC RECOVERY SOLUTIONS, LLC, and
 LVNV FUNDING, LLC,

        Defendants.

 _________________________________________/

                                       COMPLAINT
                                      JURY DEMAND

        1.     Plaintiff alleges violation Fair Debt Collection Practices Act, 15 U.S.C.

 §1692 et seq. (“FDCPA”).

                              JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and 15

 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here and because

 Dynamic sent a letter into this District.

                                             PARTIES

        3.     Plaintiff, MARITZA Y. ARCHER, is a natural person and a citizen of the

 State of Florida, residing in Miami-Dade County, Florida.

        4.     Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC, ("Dynamic") is

 a limited liability company formed under the laws of the State of South Carolina with its



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 principal place of business at Suite 6, 135 Interstate Boulevard Greenville, South

 Carolina 29615.

        5.     Dynamic is a citizen of the State of South Carolina.

        6.     Dynamic is registered with the Florida Department of State, Division of

 Corporations as a foreign limited liability company. Its registered agent for service of

 process is NRAI Services, Inc., 1200 South Pine Island Road, Plantation, Florida 33324.

        7.     Dynamic is registered with the Florida Office of Financial Regulation as a

 consumer collection agency.

        8.     Dynamic regularly uses the mail and telephone in a business the principal

 purpose of which is the collection of debts.

        9.     Dynamic regularly collects or attempts to collect debts for other parties.

        10.    Dynamic is a “debt collector” as defined in the FDCPA.

        11.    Defendant, LVNV FUNDING, LLC, ("LVNV") is a limited liability

 company formed under the laws of the State of Delaware with its principal place of

 business at Suite 3, 625 Pilot Road, Las Vegas, Nevada 89119.

        12.    LVNV is a citizen of the State of Nevada.

        13.    LVNV is registered with the Florida Department of State, Division of

 Corporations as a foreign limited liability company. Its registered agent for service of

 process is Corporation Service Company, 1201 Hayes Street, Tallahassee, Florida 32301.

        14.    LVNV is registered with the Florida Office of Financial Regulation as a

 consumer collection agency.



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        15.      LVNV regularly uses the mail and telephone in a business the principal

 purpose of which is the collection of debts.

        16.      LVNV is a “debt collector” as defined in the FDCPA.

                                 FACTUAL ALLEGATIONS

        17.      Many year ago, Plaintiff incurred a debt with Citibank (South Dakota) N.

 A. for a credit card Plaintiff used for her own personal, family and household purposes

 ("the alleged debt").

        18.      Plaintiff's agreement with Citibank (South Dakota) N. A. requires the

 payment of interest.

        19.      Plaintiff failed to pay alleged debt and it went into default.

        20.      LVNV subsequently acquired the alleged debt.

        21.      Thereafter, LVNV retained Dynamic for the purpose of collecting the

 alleged debt.

        22.      On or about April 11, 2017, Dynamic mailed a letter to Plaintiff regarding

 the alleged debt ("the letter"), attached as Exhibit "A".

        23.      Plaintiff received the letter shortly thereafter.

        24.      The letter was the first communication Plaintiff received from Dynamic

 regarding the alleged debt.

        25.      The letter contains disclosures required by 15 U.S.C. §1692g.

        26.      The disclosures contained in the letter are required only in an initial

 communication with a consumer regarding an alleged debt.



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        27.     Because the letter contains disclosures required only in an initial

 communication and because it was the first letter Plaintiff received from Dynamic,

 Plaintiff alleges that the letter was the first communication Dynamic sent to Plaintiff

 regarding the alleged debt.

        28.     The letter states "Current Balance $1,946.39."

        29.     The letter is silent on the issue of interest.

        30.     The letter does not state whether LVNV will accept payment of the amount

 set forth in full satisfaction of the debt if payment is made by a specified date.

        31.     If the alleged debt is accruing interest, Defendant has failed to inform

 Plaintiff of this fact.

        32.     If the alleged debt is not accruing interest, Dynamic has still left the amount

 of the debt in doubt, because Dynamic does not say whether the $1,946.39 set forth will

 be accepted as full payment or not.

        33.     The Second Circuit has held:

        We hold that a debt collector will not be subject to liability under Section
        1692e for failing to disclose that the consumer's balance may increase due
        to interest and fees if the collection notice either accurately informs the
        consumer that the amount of the debt stated in the letter will increase over
        time, or clearly states that the holder of the debt will accept payment of the
        amount set forth in full satisfaction of the debt if payment is made by a
        specified date.

 Avila v. Riexinger & Assocs., LLC, 817 F.3d 72 * (2d Cir. N.Y. Mar. 22, 2016)

        34.     One court in this district has agreed with the rationale of Avila, holding in a

 case based upon a similar letter:



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         Based on the wording of the Collection Letters, if Plaintiff were to remit the
         "account balance" shown on the Letters, she would [*10] not know whether she
         had paid the debt in full. Thus, Plaintiff has adequately alleged a violation of §
         1692e.

 Pimentel v. Nationwide Credit, Inc., 2017 U.S. Dist. LEXIS 188068 * (S.D. Fla. Nov. 9,
 2017)
       35.    The representations of debt collectors are governed by the "least

 sophisticated consumer" standard. See Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1175

 (11th Cir. 1985) (holding that, “because we believe that the FDCPA's purpose of

 protecting consumers is best served by a definition of deceive that looks to the tendency

 of language to mislead the least sophisticated recipients of a debt collector's letters and

 telephone calls, we adopt the [] standard of least sophisticated consumer…” (internal

 quotations and citations omitted).

         36.    Dynamic deceptively and misleadingly stated the amount of the alleged

 debt.

         37.    LVNV is jointly liable to Plaintiff for Dynamic 's violations of the FDCPA

 because it is also a debt collector. See Pollice v. National Tax Funding, L.P., 225 F.3d

 379, 405 (3d Cir. Pa. 2000); McCorriston v. L.W.T., Inc., 2008 U.S. Dist. LEXIS 60006,

 11-12 (M.D. Fla. Aug. 7, 2008); Schutz v. Arrow Fin. Servs., LLC, 465 F. Supp. 2d 872,

 876 (N.D. Ill. 2006).

                            COUNT I
   DECEPTIVE AND MISLEADING STATEMENT OF THE AMOUNT OF THE
                             DEBT

         38.    Plaintiff incorporates Paragraphs 1 through 37.




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        39.    Dynamic's letter deceptively and misleadingly states the amount of the

 alleged debt by failing to disclose either whether the balance may increase due to interest

 or whether LVNV will accept payment of the stated amount in full satisfaction of the

 debt if payment is made by a specified date, in violation of 15 U.S.C. §1692e. Avila v.

 Riexinger & Assocs., LLC, 817 F.3d 72 (2d Cir. 2016); Pimentel v. Nationwide Credit,

 Inc., 2017 U.S. Dist. LEXIS 188068 * (S.D. Fla. Nov. 9, 2017)

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendants for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                                           JURY DEMAND

        Plaintiff demands trial by jury.

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